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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA




IN RE APPLICATION OF THE
UNITED STATES OF AMERICA FOR                                  ML NO.
AN ORDER PURSUANT TO
18 U.S.C. § 3512

Request from Spain for Assistance in a
Criminal Matter: Bank and Business Records


DOJ Ref. # CRM-182-64368

                         APPLICATION OF THE UNITED STATES
                      FOR AN ORDER PURSUANT TO 18 U.S.C. § 3512

       The United States of America, moving by and through its undersigned counsel,

respectfully submits this ex parte application for an Order, pursuant to 18 U.S.C. § 3512,

appointing the undersigned attorney, Aaron P. Gershbock, Trial Attorney, Office of International

Affairs (or a substitute or successor subsequently designated by the Office of International

Affairs), as a commissioner to collect evidence from witnesses and to take such other action as is

necessary to execute a request for assistance in a criminal matter from the Kingdom of Spain

(Spain). In support of this application, the United States asserts:

                                       RELEVANT FACTS

       1.      The Spanish Ministry of Justice submitted a request for assistance (the Request)

to the United States, pursuant to the Instrument as contemplated by Article 3(2) of the

Agreement on Mutual Legal Assistance between the United States of America and the European

Union signed 25 June 2003, as to the application of the Treaty on Mutual Legal Assistance in

Criminal Matters between the United States of America and the Kingdom of Spain signed 20
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November 1990, Spain-U.S., Dec. 17, 2004, S. TREATY DOC. NO. 109-13 (the Treaty). As

stated in the Request, the Central Investigative Court No. 003 is investigating two criminal

offenses, specifically, swindling and disloyal administration, which occurred between in or about

March 2017 and the present, in violation of and as punishable under the criminal law of Spain,

namely, Articles 250 and 252 and Article 253 of the Spanish Criminal Code, respectively. A

copy of the applicable law is included as Attachment A to this application. Under the Treaty, the

United States is obligated to render assistance in response to the Request.

       2.      According to authorities in Spain, on December 12, 2003, a man (the defendant)

and a woman (the victim) were married in Spain. During the marriage, many of their belongings

became community property, including three vehicles registered in Ohio (Vehicle Identification

Numbers (VINs) ending in 1955, 4392, and 8483) and an account at PNC Bank in the United

States, account number )00000(4035. In addition, community money was used in 2008 to

start a company incorporated in Ohio (the company), which the defendant owned and managed.

The couple resided together in the United States from 2003 until 2016, when they separated and

the victim returned to Spain. They finalized their divorce on March 13, 2018.

       3.      The defendant allegedly disposed of the community property without the consent

of the victim. The defendant removed the victim as a registered owner of the three vehicles. He

closed the joint bank account at PNC (number XXXXXX4035) in March 2017 (prior to the

divorce) and transferred the money to a new account at PNC bank, account number

XXXXXX7434, of which he was the sole account holder. Also in March 2017, the defendant

moved funds in the company's bank account from an account at PNC bank, XXXXXX3809, to

which the victim had access, to a new account at PNC bank, XX.XXX8942, to which the victim

did not have access. In addition, the defendant has treated profits from the company as



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belonging solely to himself, and has charged personal expenses to the company. Finally, the

defendant took advantage of his position as the company's managing director to appropriate the

company's movable property (along with some of the victim's personal property).

       4.      To further the investigation, authorities in Spain have asked U.S. authorities to

provide: (1) bank records from PNC Bank related to the account numbers XXXXXX4035,

XXXXXX7434, XXXXXX3809, and XXXXX8942; (2) business records from the company; (3)

bank records from any relevant financial institution(s) discovered by reviewing records provided

by PNC Bank or the company; and (4) certificates of vehicle registration ownership (current and

former) for the three vehicles with VINs ending in 1955, 4392, and 8483.

                                    LEGAL BACKGROUND

                                            The Treaty

       5.      A treaty constitutes the law of the land. U.S. Const. art. VI, c1.2. The provisions

of a treaty have equal footing with acts of Congress and are binding on the courts. See Asakura

v. City of Seattle, 265 U.S. 332, 341 (1924); United States v. The Peggy, 5 U.S. 103 (1801);

United States v. Emuegbunam, 268 F.3d 377, 389 (6th Cir. 2001). The provisions of a treaty

should be construed liberally "to give effect to the purpose which animates it." United States v.

Stuart, 489 U.S. 353 (368) (1989) (internal quotation marks omitted). To the extent that the

provisions of a treaty are inconsistent with a preexisting statutory provision, the treaty supersedes

the statute. Zschernig v. Miller, 389 U.S. 429, 440-41 (1968).

       6.      The United States and Spain entered into the Treaty to promote more effective

cooperation and assistance between the parties in criminal matters. See Treaty on Mutual Legal

Assistance in Criminal Matters Between the United States of America and the Kingdom of

Spain, Spain-U.S., pmbl, Nov. 20, 1990, S. TREATY DOC. NO. 102-21. The Treaty obligates



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each party, upon request, to provide assistance to the other in criminal investigations,

prosecutions, and related proceedings, including assistance in serving documents, obtaining

testimony, statements, and records, and executing searches and seizures. Treaty, Annex, Article

1(2). In addition, the Treaty, like 18 U.S.C. § 3512, authorizes federal courts to use compulsory

measures to further the execution of such requests. Treaty, Annex, Article 5(1). ("The Courts of

the Requested State shall have authority to issue subpoenas, search warrants, or other orders

necessary to execute the request.").

                                         18 U.S.C. § 3512

       7.       When executing a treaty or non-treaty request for assistance from a foreign

authority, an attorney for the government may file an application to obtain any requisite court

orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and

provides in pertinent part:

       Upon application, duly authorized by an appropriate official of the Department of
       Justice, of an Attorney for the Government, a Federal judge may issue such orders
       as may be necessary to execute a request from a foreign authority for assistance in
       the investigation or prosecution of criminal offenses, or in proceedings related to
       the prosecution of criminal offenses, including proceedings regarding forfeiture,
       sentencing, and restitution.



       [A]n application for execution of a request from a foreign authority under this
       section may be filed. . . in the District of Columbia.



       The term "foreign authority" means a foreign judicial authority, a foreign
       authority responsible for the investigation or prosecution of criminal offenses or
       for proceedings related to the prosecution of criminal offenses, or an authority
       designated as a competent authority or central authority for the purpose of making



       requests for assistance pursuant to an agreement or treaty with the United States
       regarding assistance in criminal matters.
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18 U.S.C. § 3512(a)(1), (c)(3), (h)(2).

          8.    Congress enacted this section to make it "easier for the United States to respond

to [foreign] requests by allowing them to be centralized and by putting the process for handling

them within a clear statutory scheme." 155 Cong. Rec. 6,810 (2009) (statement of Sen.

Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. 111-79, 123 Stat.

2086.1 This section provides clear authority for the federal courts, upon application duly

authorized by an appropriate official of the Department of Justice, to issue orders which are

necessary to execute a foreign request.

          9.    An application is duly authorized by an appropriate official of the Department of

Justice when the Office of International Affairs, which serves as the "Central Authority" for the

United States, has reviewed and authorized the request, and executes the request itself or

delegates execution to another attorney for the government.2 Upon such a duly authorized

application, Section 3512 authorizes a federal judge3 to issue "such orders as may be necessary

to execute [the] request," including: (1) search warrants under Fed. R. Crim. P. 41; (2) orders for




1 Priorto the enactment of 18 U.S.C. § 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. § 1782 (the "commissioner" process) to execute requests from foreign
authorities. See In re Request from the United Kingdom, 685 F.3d 1, 11 (1st Cir. 2012) (18 U.S.C. §
3512 provides a more streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests
were previously executed); see also Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247-49
(2004) (describing history of Section 1782). When enacting Section 3512, Congress anticipated that
improved U.S. handling of foreign requests would ensure reciprocity in response to U.S. requests for
assistance in its criminal investigations. See, e.g., 155 Cong. Rec. 10,093 (2009) (statement of Rep.
Schiff).

2The Attorney General, through regulations and Department of Justice directives, delegated to the Office
of International Affairs the authority to serve as the "Central Authority" under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters. See 28 C.F.R. 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81A and 81B.

3The term "federal judge" includes a magistrate judge. See 18 U.S.C. § 3512(h)(1) and Fed. R. Crim. P.
1(b)(3)(B) (including a magistrate judge in the definition of federal judge).
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electronic records under 18 U.S.C. § 2703; (3) orders for pen registers or trap and trace devices

under 18 U.S.C. § 3123; and (4) orders appointing a person to direct the taking of testimony or

statements and/or the production of documents or other things. See 18 U.S.C. § 3512(a)(1)-

(b)(1). In addition, a federal judge may prescribe any necessary procedures to facilitate the

execution of the request, including any procedures requested by the foreign authority to facilitate

its use of the evidence. See In re Letter of Request from the Crown Prosecution Service of the

United Kingdom, 870 F.2d 686, 693 (D.C. Cir. 1989) (court has discretion in prescribing

procedures to be followed in executing foreign request under 28 U.S.C. § 1782); cf. White v.

National Football League, 41 F.3d 402, 409 (8th Cir. 1994) (court may issue process necessary

to facilitate disposition of matter before it); Fed. R. Crim. P. 57(b).

       10.     Section 3512 also authorizes any person appointed to direct the taking of

testimony or statements and/or the production of documents or other things to: (1) issue an order

requiring a person to appear and/or produce documents or other things; (2) administer any

necessary oaths; (3) take testimony or statements; and (4) take receipt of documents or other

things. 18 U.S.C. § 3512(b)(2). In ordering a person to appear and/or produce documents or

other things, the person appointed, commonly referred to as the "commissioner," typically uses a

subpoena entitled "Commissioner Subpoena." Any such subpoena or any other order, subject to

subsection (d), may be served or executed anywhere in the United States. 18 U.S.C. § 3512(f).

A copy of a "Commissioner Subpoena" is included as Attachment B.

                                      REQUEST FOR ORDER

       11.     The Office of International Affairs has reviewed and authorized the Request, and

is executing the Request itself. Consequently, this application for an Order appointing the

undersigned attorney as a commissioner to collect evidence from witnesses and to take such



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other action as is necessary to execute the Request has been "duly authorized" within the

meaning of Section 3512. In addition, the Request was submitted by an appropriate "foreign

authority," i.e., the Spanish Ministry of Justice, the designated Central Authority in Spain for

requests made pursuant to the Treaty, and seeks assistance in the investigation of swindling and

disloyal administration — criminal offenses in Spain. Furthermore, the requested Order is

necessary to execute the Request, and the assistance requested, i.e., the production of bank

records and business records, falls squarely within that contemplated by both the Treaty and

Section 3512. Finally, this application was properly filed in the District of Columbia.

       12.     Both Section 3512 and the Treaty authorize the use of compulsory process in the

execution of treaty requests comparable or similar to that used in domestic criminal

investigations or prosecutions. Because subpoenas utilized in U.S. criminal proceedings (i.e.,

grand jury and criminal trial subpoenas) are issued without notice to any person other than the

recipient (i.e., no notice to targets or defendants), orders and commissioner subpoenas issued in

execution of a treaty request pursuant to Section 3512 and the applicable treaty likewise should

require no notice other than to the recipients. This is true even if the Requesting State, as here,

seeks financial records, because the Right to Financial Privacy Act, 12 U.S.C. §§ 3401 et seq.,

including its notice provisions, does not apply to the execution of foreign requests for legal

assistance. Young v. U.S. Dept. of Justice, 882 F.2d 633, 639 (2d Cir. 1989), cert. denied, 493

U.S. 1072 (1990); In re Letters of Request from the Supreme Court of Hong Kong, 821 F. Supp.

204, 211 (S.D.N.Y. 1993); In re Letter of Request for Judicial Assistance from the Tribunal Civil

de Port-Au-Prince, Republic of Haiti, 669 F. Supp. 403, 407 (S.D. Fla. 1987). Accordingly, this




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Court should authorize a commissioner to collect the evidence requested without notice to any

person other than the recipients of the commissioner subpoenas.4

        13.      Therefore, the United States respectfully requests that this Court issue the

attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Aaron P.

Gershbock, Trial Attorney, Office of International Affairs (or a substitute or successor

subsequently designated by the Office of International Affairs) as a commissioner, authorizing

the undersigned to take the actions necessary, including the issuance of commissioner subpoenas,

to obtain the evidence requested in a form consistent with the intended use thereof



                                                   Respectfully submitted,

                                                  VAUGHN A. ARY
                                                  DIRECTOR
                                                  OFFICE OF INTERNATIONAL AFFAIRS
                                                  OK Bar Number 12199


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4 Spanish authorities have not asked U.S. authorities to keep the Request confidential. Accordingly, the
United States is not seeking authorization to issue a non-disclosure order, nor is it seeking an order to seal
the court file.
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